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               IN THE UNITED STATES DISTRICT COURT

                     FOR THE DISTRICT OF ALASKA

TOMMY PETER,                             )
                                         )
                                         ) Case No. A09–_________ CV
                                         )
                     Plaintiff,          )
               vs.                       )         COMPLAINT
                                         )
UNITED STATES OF AMERICA,                )
                                         )
                     Defendant.          )
                                         )

          Plaintiff Tommy Peter, by and through his counsel of

record, Burke & Bauermeister, P.L.L.C., hereby claims and alleges

as follows:

     1.   Plaintiff Tommy Peter, an adult, is a resident of the

State of Alaska.

     2.   The acts or omissions upon which this cause is based

occurred at the hands of the staff of and in the Yukon Kuskokwim

Delta Regional Hospital, Bethel, Alaska, and/or at the hands of

the staff of and in the Alaska Native Medical Center (hereafter

“ANMC”) in Anchorage, Alaska.

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       3.     This      suit   is    brought    pursuant      to   the    Federal    Tort

Claims      Act,   28    U.S.C.      § 2674,    and    this   court      has   exclusive

jurisdiction over this action pursuant to 28 U.S.C. § 1346(b).

       4.     Notice of this claim as required by 28 U.S.C. § 2675

was received by the Claims Office, Office of the General Counsel,

on February 11, 2008, and by the U.S. Department of Health and

Human Services on February 19, 2008.

       5.     Defendant has not rendered a final decision and more

than   six    months      have      elapsed    since   plaintiffs        submitted   the

administrative claim.

       6.     The employees of the             Yukon Kuskokwim Delta Regional

Hospital, Bethel, Alaska, are employees of the United States for

purposes of liability under the FTCA if they are employees of the

Yukon Kuskokwim Delta Regional Hospital, Bethel, Alaska, acting

within the scope of their employment and are carrying out the

compact of the Yukon Kuskokwim Delta Regional Hospital, Bethel,

Alaska with the IHS at the time of the acts or inactions which

gives rise to the complaint.

       7.     At all times pertinent to this complaint, the employees

of the Yukon Kuskokwim Delta Regional Hospital, Bethel, Alaska who

are alleged to have acted in a negligent manner were acting within

the scope of their employment and were also carrying out the Yukon

Kuskokwim Delta Regional Hospital, Bethel, Alaska compact with the

IHS.

       8.     ANMC is operated by the Alaska Native Tribal Health
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Consortium (hereafter “ANTHC”) in Anchorage, Alaska.                 ANMC is a

compacting entity of the Indian Health Service (IHS).               Health care

providers at ANMC are employees of the United States for purposes

of liability under the FTCA if they are employees of ANMC, acting

within the scope of their employment and are carrying out the

compact with the IHS at the time of the act which gives rise to

the complaint.

     9.     At all times pertinent to this complaint, the employees

of ANMC who are alleged to have acted in a negligent manner were

acting within the scope of their employment and were also carrying

out ANMC’s compact with the IHS.

     10.    On or about May 7, 2007 and again on May 10, 2007 Tommy

Peter sought care in the emergency room of the Yukon Kuskokwim

Delta Regional Hospital, Bethel, Alaska.

     11.    On May 10 or May 11, 2007 Tommy Peter was evacuated to

ANMC in Anchoraage.

     12.    From May 11, 2007 through the end of July of 2007 Tommy

Peter underwent multiple diagnostic and surgical procedures at

ANMC and care at that same facility.

     13.    On or about August 1, 2007 Tommy Peter was discharged

from ANMC and sent home to Bethel, Alaska.

     14.    On   or   about   September        14,   2007   Tommy   Peter   was

readmitted to ANMC for surgery that involved amputation of nine of

his toes.

     15.    During his care at the hands of defendants Tommy Peter
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suffered       severe      methicillin         resistant      Staphylococcus         aureus

(MRSA),       pneumonia,    sepsis       and   ARDS     resulting     in,    among   other

permanent and severe injuries, amputation of nine (9) toes and the

loss of substantial muscular tissue of the shoulder.

        16.    Medical     personnel      employed      by    Yukon     Kuskokwim    Delta

Regional Hospital, Bethel, Alaska, including resident interns,

doctors and health aides, were negligent in providing medical care

to plaintiff Tommy Peter.                That negligence included, but is not

limited to, failing to timely diagnose, failing to act with a

reasonable degree of urgency, and failing to act with due care in

providing medical care and treatment.

        17.    Medical personnel employed by ANMC, including resident

interns, doctors and health aides, were negligent in providing

medical care to plaintiff Tommy Peter.                     That negligence included,

but is not limited to, failing to timely diagnose, failing to act

with a reasonable degree of urgency, and failing to act with due

care in providing medical care and treatment.

        18.    As    a   direct    and   proximate       result    of    the   negligence

described above, the plaintiff, Tommy Peter sustained unnecessary:

permanent and severe personal injury; great physical and mental

pain; shock, agony and emotional suffering; loss of enjoyment of

life;    loss       of   earning    capacity;       loss     of   earnings     and   other

economic and non-economic damage in excess of $100,000.00, the

exact amount to be determined at trial.

        WHEREFORE, the plaintiff pray for relief as follows:
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     A.   An amount in excess of One-hundred Thousand Dollars

($100,000.00), the exact amount to determined at trial;

     B.   For costs and such other and further relief as this

court deems just and equitable.

          Dated this 26th day of June 2009.


                                 /s/Don C. Bauermeister
                                 Don C. Bauermeister
                                 BURKE & BAUERMEISTER, P.L.L.C.
                                 Attorney for Plaintiff
                                 ABA No. 8206005


Initial Service upon:

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U.S. Department of Justice
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Karen L. Loeffler, Acting U.S. Attorney
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Courtesy Copy by Fax to (907)271-2344
Gary M. Guarino, Civil Division Chief
Office of the U.S. Attorney, District of Alaska




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